Case 1:21-cv-02130-CJN Document 2-32 Filed 08/10/21 Page 1 of 13




     Exhibit 401
     Case 1:21-cv-02130-CJN Document 2-32 Filed 08/10/21 Page 2 of 13
                                 OAN
                                                                        ·

·1

·2

·3

·4

·5
           5/3/2021 Mike Lindell Tackles Election Fraud
·6

·7

·8

·9

10· · · · · · · · ·          · · ·

11

12

13

14
· · https://app.criticalmention.com/app/#clip/view/73f40f
15· b5-a9ab-4c8b-aa1b-c038474c608f?token=78421a00-fd36-40
· · 24-80e9-790adf35eb22
16

17

18

19

20

21

22

23

24

25


                              U.S. LEGAL SUPPORT
                                 866-339-2608
  Case 1:21-cv-02130-CJN Document 2-32 Filed 08/10/21 Page 3 of 13
                              OAN
                                                                     2

·1· · · · · · ANNOUNCER:· ·Election interference continue to
·2· pour in from across the nation.· One America's Pearson
·3· Sharp (phonetic) sits down with My Pillow founder and
·4· CEO, Mike Lindell, who says they already have enough
·5· evidence to prove our nation's voting systems were
·6· tampered with.
·7· · · · · · PEARSON SHARP:· Mike, the Pillow Man, Lindell,
·8· how are you doing.· Thanks for coming on today.
·9· · · · · · MIKE LINDELL:· Yeah.· Thanks for having me on.
10· · · · · · PEARSON SHARP:· Absolutely.· So you were on
11· Jimmy Kimmel the other day.· How did that go?
12· · · · · · MIKE LINDELL:· Well, it went great.· I got to
13· say the word Dominion, I think, Smartmatic.
14· · · · · · PEARSON SHARP:· They didn't kick you off?
15· · · · · · MIKE LINDELL:· They didn't kick me off.
16· · · · · · PEARSON SHARP:· He didn't get up and walk
17· away?
18· · · · · · MIKE LINDELL:· No, that's right.· But no, it
19· was amazing.· He asked me hard questions, trying to, I
20· think, you know, he expected me to maybe get upset.
21· · · · · · PEARSON SHARP:· It seemed like he was trying
22· to push your buttons.
23· · · · · · MIKE LINDELL:· Right, but I've been through it
24· all, you know, with the media.· I do it every day.· All
25· the media.· They have my direct number from your New


                           U.S. LEGAL SUPPORT
                              866-339-2608
  Case 1:21-cv-02130-CJN Document 2-32 Filed 08/10/21 Page 4 of 13
                              OAN
                                                                     3

·1· York Times to your Washington Post.· They all have my
·2· direct numbers.· You know, when there's something I need
·3· to say, they don't call, they don't write.· So for being
·4· on Jimmy, that was amazing how brave he was because they
·5· did not want me on there.· The bots and trolls and all
·6· the people on the left said don't bring him on, Jimmy,
·7· and everybody here says don't go on there, Mike, you
·8· know.
·9· · · · · · PEARSON SHARP:· Well, you even got a couple of
10· claps from the audience when you were saying --
11· · · · · · MIKE LINDELL:· Oh, no.· The audience was
12· great.· I talked to some -- a lot of them.· They were
13· all, you know.· They were not -- when I got there it was
14· like immediately from his producer on down, they might
15· be very liberal or whatever you'd perceive, but there
16· were even some conservatives, but they're all people,
17· you know.
18· · · · · · PEARSON SHARP:· So for anyone unfamiliar, what
19· have you been working on?· What have you been doing the
20· last few months?
21· · · · · · MIKE LINDELL:· Ever since January 9th when I
22· got a piece of evidence -- obviously since November 4th
23· I looked into everything too, poured money wherever it
24· needed to go, people who were finding anything to do
25· with fraud.· But on January 9th it was different.· This


                           U.S. LEGAL SUPPORT
                              866-339-2608
  Case 1:21-cv-02130-CJN Document 2-32 Filed 08/10/21 Page 5 of 13
                              OAN
                                                                     4

·1· was a piece of evidence, came off a computer, and it
·2· was -- it showed this attack, just one footprint of an
·3· attack by China.· It was a spyware.· So then from that
·4· point on, obviously I went all in.· I met the guys.
·5· There's three different individuals that were part --
·6· they're going to be heroes when this comes out because
·7· they got all these prints from the computers.· They have
·8· billions of printouts.· And so since then I've been
·9· obviously just fighting every day to tell the nation and
10· everybody, the world, these machines where it got
11· hacked, Dominion, Smartmatic, Hart all of them are the
12· same, ES and S.· You just say Dominion, but it's all
13· machines.· China hacked into our election and flipped
14· millions upon millions of votes.
15· · · · · · We have a hundred percent evidence, so I
16· put out the two -- three movies now, Absolute Proof,
17· Scientific Proof --
18· · · · · · PEARSON SHARP:· Is it irrefutable truth?
19· · · · · · MIKE LINDELL:· It's absolute.· I mean, that's
20· even higher than irrefutable.
21· · · · · · PEARSON SHARP:· Yeah.
22· · · · · · MIKE LINDELL:· When you get to Absolute
23· Interference, the one I just put out, everybody's got to
24· spread that far and wide because what I did, I took any
25· questions, any doubt you would have on Absolute Proof, I


                           U.S. LEGAL SUPPORT
                              866-339-2608                               YVer1f
  Case 1:21-cv-02130-CJN Document 2-32 Filed 08/10/21 Page 6 of 13
                              OAN
                                                                     5

·1· went and got -- this guy, he works for the government,
·2· okay.· He's a white hat hacker, one of the best in the
·3· world.· Now, I have him and two other ones, but this guy
·4· is the best, okay.· He spent five weeks validating just
·5· 19 attacks from China.· There was thousand, about two
·6· thousand some I believe that night from there, and he
·7· went and got -- where's the building, the building, the
·8· IP address, the ID of the computer.· But more
·9· importantly -- of course, then it comes over here.· This
10· is just one hack, where it came in, which computer,
11· which IP address.· But here's the thing.· He also got
12· the stuff that comes off the computer.· I call it
13· jibberish.· You can't read it.· And he goes --
14· · · · · · PEARSON SHARP:· Like the metadata?
15· · · · · · MIKE LINDELL:· Yeah, yeah, yeah, this is
16· right.· You and I wouldn't be able to read it.· But he
17· says what these are, they're cyber footprints and he
18· validated when they did the flips.· So let's say it was
19· at the exact minute.· So let's say it's 11:03 a.m. on
20· November 3rd.· Here comes an attack.· It goes into this
21· computer, pick a county, Fulton County, whatever.
22· · · · · · PEARSON SHARP:· And you can see the votes
23· flip?
24· · · · · · MIKE LINDELL:· And you can see he's got the
25· cyber flip.· Now I said, I asked him, can you go back in


                           U.S. LEGAL SUPPORT
                              866-339-2608                               YVer1f
  Case 1:21-cv-02130-CJN Document 2-32 Filed 08/10/21 Page 7 of 13
                              OAN
                                                                     6

·1· time and change that.· No.· This has chain of custody he
·2· called it.· It's very important.· He said no, it's
·3· impossible.· I said so this would hold up in any court.
·4· He said this would hold him anywhere.· Two plus two is
·5· two.
·6· · · · · · PEARSON SHARP:· This is something I wanted to
·7· bring up because a lot of people when you go out and you
·8· make these statements, they say oh, Mike Lindell, he's
·9· just making these conspiracy theories.· You know, he
10· sells pillows, what does he know about this.· But the
11· important thing to know is you are not saying these
12· things.
13· · · · · · MIKE LINDELL:· Oh, no.· I'm saying them.
14· · · · · · PEARSON SHARP:· Well, no, no.· You're saying
15· them, but you have teams of investigators who are
16· finding this information and providing this.
17· · · · · · MIKE LINDELL:· Right.· Here's why I ended up,
18· and they even said on Jimmy, he goes why you, a pillow
19· guy when no one else.
20· · · · · · PEARSON SHARP:· Right.· Exactly.
21· · · · · · MIKE LINDELL:· It's only because I had the
22· biggest voice in this country, and that's what God gave
23· me this platform where all the media was coming to me,
24· especially when I started doing -- when bombastic things
25· started happening, cancel culture.· I'm losing -- you


                           U.S. LEGAL SUPPORT
                              866-339-2608                               YVer1f
  Case 1:21-cv-02130-CJN Document 2-32 Filed 08/10/21 Page 8 of 13
                              OAN
                                                                     7

·1· know, I would lose like three box stores a day and
·2· they'd come to me, Mike, you lost HEB and Kohl's and Bed
·3· Bath and Beyond turned on you.· What do you say about
·4· that.· Did you hear about Dominion and China attacking
·5· our country.· So I put the voice out there.· What these
·6· guys were, the evidence was already there, you know, but
·7· there were other people trying to get this out there but
·8· they didn't have a voice.
·9· · · · · · PEARSON SHARP:· So that brings up my next
10· point that I want to ask you.
11· · · · · · MIKE LINDELL:· Right.
12· · · · · · PEARSON SHARP:· It's fair to say you're a
13· successful businessman.· You have a great business.
14· You've been selling stuff all over the country.· Why did
15· you feel the need to personally get involved with this?
16· How did you fell compelled to get involved with this
17· election.
18· · · · · · MIKE LINDELL:· I would hope anybody --
19· · · · · · PEARSON SHARP:· Why you?
20· · · · · · MIKE LINDELL:· Well, first of all, when you're
21· talking about November 4th, you know, the day after,
22· obviously I seen deviations.· The one thing I am an
23· expert at is deviations.· I will look at numbers all day
24· long.· They don't lie.· If I have a radio station that
25· normally does 3,000 and it does 15,000, you had to have


                           U.S. LEGAL SUPPORT
                              866-339-2608                               YVer1f
  Case 1:21-cv-02130-CJN Document 2-32 Filed 08/10/21 Page 9 of 13
                              OAN
                                                                     8

·1· a different input to change that output.· So there were
·2· all these deviations, so I dove in there mostly with
·3· just resources, and also with myself looking, my own
·4· investigation going county by county going this is
·5· mathematically impossible.
·6· · · · · · PEARSON SHARP:· You saw something suspicious
·7· and you wanted to investigate it.
·8· · · · · · MIKE LINDELL:· Suspicious wasn't even the
·9· word.· There was thousands of deviations.· I could pick
10· out a county in Wisconsin we're speaking, look at the
11· track record, look at what happened.· It's impossible
12· because the same people lived in the county before.
13· · · · · · Now, what happened was, though, all these
14· people after January 9th when I went public with that
15· piece that these guys have gotten me, that piece,
16· Dominion, the cyber attack, when I did that, then
17· these guys trusted me.· These guys are
18· whistleblowers.· These guys that work inside the
19· government and used to work for the government, these
20· are the guys that have all this information and so
21· they had this.· They can't just go out there.
22· They're in danger, but they trusted me, so they
23· brought it to me.· I'm not a computer geek.· I don't
24· know anything about it.· I don't know this from this,
25· but I do know deviations and I do know that this was


                           U.S. LEGAL SUPPORT
                              866-339-2608                               YVer1f
  Case 1:21-cv-02130-CJN Document 2-32 Filed 08/10/21 Page 10 of 13
                               OAN
                                                                      9

·1· the answer, so I seen it.· So I even validated it by
·2· the people that protect our country.· These people
·3· protect our county when there's a cyber attack.              I
·4· got the best in the world to validate it.
·5· · · · · · PEARSON SHARP:· The big question that we all
·6· want to know, was the 2020 election stolen.
·7· · · · · · MIKE LINDELL:· I think everybody already knows
·8· that.· I mean, of course it was stolen.· Donald Trump
·9· won just shy of 80 million to have 66 million for Biden,
10· and that doesn't count the organic theft that was on the
11· ground.· Donald Trump won, everyone hear this,
12· 80 million to 66 million.· Mike, come on.· That's just
13· because you like Donald Trump as president.· No, I'm
14· just telling you the truth.· What do you want me to
15· minimize it and say Donald Trump won but it was close.
16· It was the biggest landslide ever.· I mean, for this
17· just a complete landslide.· Highest black vote ever that
18· he had.· And mail-in votes, even the mail-in votes
19· everybody.· Everyone goes you know those mail-in votes
20· in Michigan when everything stopped in the middle of the
21· night.· They go wow, the 106,000 votes came in for Biden
22· with no down ticket.· Let me tell you, those were
23· mail-in votes.· The mail-in votes were counted on the
24· morning of the 3rd.· They were the first thing counted,
25· everybody, except form Pennsylvania which they had to


                            U.S. LEGAL SUPPORT
                               866-339-2608                               YVer1f
  Case 1:21-cv-02130-CJN Document 2-32 Filed 08/10/21 Page 11 of 13
                               OAN
                                                                      10

·1· take a whole week to cheat over there.· And then you had
·2· like Arizona took one week to count one percent.· That's
·3· all going to be found out now when they open up Maricopa
·4· County.· They finish that audit, you guys are going to
·5· see a hundred and something votes flipped.
·6· · · · · · This was a crime of biblical proportions, I
·7· mean historical proportions.· What I want everyone to
·8· know, and I said it on Jimmy, they said well, what if
·9· it was on the other foot.· What if Donald Trump --
10· and I said you know what, I would do the same thing.
11· Here's why.· When you ask what's compelling me to do
12· this.· If they would have done their jobs, everybody,
13· and put Donald Trump in on December 14th and said
14· yes, we found there's theft, there's dead people
15· voted and all these other things that we're talking
16· about that nobody looked at, nobody looked at that
17· either, not one judge in this country, it was a joke.
18· But if they do that, if they do their job and the
19· legislators do their job, Donald Trump wins.
20· · · · · · Now, if I'm given the same evidence on
21· January 9th, you don't think that I would say -- of
22· course I would be telling the world.
23· · · · · · PEARSON SHARP:· So if President Trump had won
24· the election but you saw the same evidence that showed
25· that Biden had actually won, you would be doing the same


                            U.S. LEGAL SUPPORT
                               866-339-2608                                YVer1f
 Case 1:21-cv-02130-CJN Document 2-32 Filed 08/10/21 Page 12 of 13
                              OAN
                                                                     11

·1· thing as you are now?
·2· · · · · · MIKE LINDELL:· Yes, because this is China
·3· attacked our country.· This is -- it doesn't matter --
·4· · · · · · (End of recording.)
·5
·6
·7
·8
·9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25


                           U.S. LEGAL SUPPORT
                              866-339-2608
 Case 1:21-cv-02130-CJN Document 2-32 Filed 08/10/21 Page 13 of 13
                              OAN
                                                                     12

·1

·2

·3· · · · · · · · · ·CERTIFICATE OF REPORTER

·4

·5· · · · · · I, Charlotte Crandall, certify that I was

·6· authorized to and did transcribe the foregoing audio

·7· recorded proceedings and that the transcript is a

·8· true and complete record of my stenographic notes

·9· from an audio recording and was transcribed to the

10· best of my ability.

11

12· · · · · · Dated this 12th day of July, 2021.

13

14

15

16

17

18· · · · · · · · · · · ________________________________
· · · · · · · · · · · · Charlotte Crandall
19· · · · · · · · · · · Registered Professional Reporter

20

21

22

23

24

25


                           U.S. LEGAL SUPPORT
                              866-339-2608
